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                                                                                   January 8, 2021

             Via ECF

             Honorable Lewis J. Liman
             United States District Judge
             Southern District of New York
             500 Pearl Street
             New York, New York 10007

                        Re:        HC2, Inc. v. Andrew Delaney
                                   Civil Action No. 20-cv-03178-LJL

             Dear Judge Liman:

                      This firm represents HC2, Inc. Plaintiff writes to report that HC2 seeks to not file a motion
             to compel production of Defendant’s tax returns at this time and instead seeks to preserve its right to
             do so after liability is determined. Plaintiff is mindful that this Court’s January 5, 2021 Order directed
             Plaintiff to file any such motion by 5:00 p.m. Plaintiff respectfully requests that if the Court is not
             inclined to permit Plaintiff to seek Defendant’s tax returns after liability is established and would
             require that Plaintiff’s motion to compel be filed today to preserve Plaintiff’s right to seek Defendant’s
             tax returns, that the Court please inform Plaintiff accordingly and permit an additional brief period
             for Plaintiff to file the motion to compel.

                        We thank the Court for its consideration of this request.

                                                                                 Respectfully Submitted,

                                                                                 OGLETREE, DEAKINS, NASH,
                                                                                 SMOAK & STEWART, P.C.

                                                                                 s/ Michael Nacchio

                                                                                 Michael Nacchio

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